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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                       :       CHAPTER 7
                                             :
SHARON MARIE WINSTON,                        :       CASE NO. 15-66160-JRS
                                             :
         Debtor.                             :
                                             :

                                 CERTIFICATE OF SERVICE

       This is to certify that on September 23, 2020, I, Michael J. Bargar, caused to be served a
true and correct copy of the Notice of Pleading, Deadline to Object, and for Hearing [Doc No.
50] by first class United States Mail, postage prepaid, on all of those entities set forth at the
addresses stated:


Office of the United States Trustee
362 Richard B. Russell Building                      Sharon Marie Winston
75 Ted Turner Drive, SW                              1117 Berryhilll Drive
Atlanta, GA 30303                                    Lithonia, GA 30058

S. Gregory Hays                                      Lauren A. Drayton
Hays Financial Consulting, LLC                       The Semrad Law Firm, LLC
2964 Peachtree Road, Suite 555                       303 Perimeter Center North, #201
Atlanta, GA 30305                                    Atlanta, GA 30346


       This is to certify further that on September 23, 2020, I, Michael J. Bargar, caused to be
served true and correct copies of the Notice of Pleading, Deadline to Object, and for Hearing
[Doc No. 50] by first class United States Mail, postage prepaid, on all of those entities set forth
on Exhibit “A” at the addresses stated.

         This 23rd day of September, 2020.


                                                            /s/ Michael J. Bargar
                                                            Michael J. Bargar
                                                            Georgia Bar No. 645709
                                                            michael.bargar@agg.com




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                             EXHIBIT “A” FOLLOWS




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